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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                                Crim. Action No. 21-24-1 (TNM)

 ROBERT GIESWEIN,

                        Defendant.


                 UNOPPOSED MOTION TO CONTINUE DEADLINE FOR
                              RULE 404 NOTICE


        The United States of America, through undersigned counsel requests that the Court modify

the Pretrial Order issued by Judge Sullivan, ECF 132, to extend by three weeks the deadline by

which the government must provide the defendant any notice of its intent to introduce evidence of

evidence governed by Fed. R. Evid. 404(b). In support of this motion, the government states as

follows:

        1.      On October 6, 2022, Judge Sullivan issued a pretrial order setting certain deadlines,

including a deadline of December 30, 2022, by which the government must provide the defendant

with notice “of its intention to introduce any Rule 404(b) evidence not already disclosed. ECF

132 at 1.

        2.      On October 19, 2022, after the case was transferred to this Court’s docket, and after

conferring with the parties, the Court left many of the deadlines set by Judge Sullivan in place,

including the December 30 deadline for Rule 404(b) notice. See Minute Entry dated October 19,

2022.

        3.      Undersigned counsel are currently in trial in another matter and have been in

contact with Ann Mason Rigby, counsel for the defendant, regarding the deadline for Rule 404(b)
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notice. 1 Undersigned counsel informed Ms. Rigby that the government would seek an additional

three weeks to comply with the Court’s Rule 404(b) deadline. Ms. Rigby informed undersigned

counsel that the defense does not oppose an extension of the Rule 404(b) deadline.

       4.      The government submits that granting this request would not prejudice any party

or the Court, as it would still leave ample time for the parties to file any motions that may be

necessary as a result of such notice by the February 17, 2023, deadline. See ECF 132 at 1-2.

                                              CONCLUSION

               For the reasons set forth above, the government respectfully requests that the Court

grant this request.



                                                        Respectfully submitted,

                                                        MATTHEW M. GRAVES
                                                        United States Attorney
                                                        D.C. Bar No. 481052

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               That trial is expected to last longer than the next three weeks, but counsel are
mindful of the fact that with the schedule in place for a May 2 trial date, the notice deadline cannot
be pushed much further than January 20, 2023.


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